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FOR THE DISTRICT OF IDAHO

U.S. COURTS
JOHN ANTHONY CASTRO )
12 Park Place, Mansfield, TX 76063 +) OCT 0 3 2023
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Plaintiff, ) Rovd ae NAW KENYON
‘ ) CLERK; DISTRICT OF IDAHO
v. )
. . )
SECRETARY OF STATE PHIL MCGRANE ) Da -
700 W. Jefferson Street, Room E-205, Boise, ID) Case No. 1:23-ev-00393-DKG
83702: )
)
DONALD JOHN TRUMP )
1100 S. Ocean Blvd, Palm Beach, FL 33480 )
)
Defendants. )
)
_ NOTICE OF DISMISSAL

Pursuant, to Fed, R. Civ. P. 41 (a) )(A)G), Plaintiff files this notice of dismissal before

oh se Sb EU Cre . .
either opposing party has éither served an answer or motioned for summary judgement.

Respectfully submitted,

Dated: September 27, 2023. By:  /s/ John Anthony Castro

John Anthony Castro

12 Park Place

Mansfield, TX 76063

Tel. (202) 594 - 4344
J.Castro@CastroAndCo,.com

Plaintiff Pro Se

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CERTIFICATE OF SERVICE

On September 27, 2023, I submitted the foregoing document with the Clerk of this Court.
It is further certified that all other parties are CM/ECEF users and that service of this motion will be
made upon them via CM/ECF, If not, they will be served via U.S, postal mail.

/s/ John Anthony Castro
~ John Anthony Castro

